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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

BROADWAY FORD TRUCK SALES, )
INC.,                                )
                                     )
      Plaintiff,                     )
                                     )
      vs.                            )              Case No. 4:21 CV 218 CDP
                                     )
ALPHA MOWING & LANDSCAPING, )
LLC, et al.,                         )
                                     )
      Defendants/Counter Plaintiffs, )
                                     )
      vs.                            )
                                     )
CLEMENS INS. AGENCY, INC.,           )
                                     )
      Counter Defendant.             )

                        MEMORANDUM AND ORDER

      This matter is before the Court on plaintiff’s motion to dismiss defendants’

counterclaim for failure to state a claim under Fed. R. Civ. P. 12(b)(6) and motion

to strike defendant’s first and second affirmative defenses to the complaint as

improper defenses to plaintiff’s breach of contract and negligence claims.

Defendants have not responded to these motions, and their time for doing so has

long ago expired. Having reviewed these unopposed motions under the relevant
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standards, I conclude that plaintiff’s motions should be granted for the reasons set

out in the motions.

       Accordingly,

       IT IS HEREBY ORDERED that the motion to dismiss [9] is granted, and

defendants’ counterclaim is dismissed.

       IT IS FURTHER ORDERED that the motion to strike [10] is granted, and

defendants’ first and second affirmative defenses are stricken from their Answer

[7].




                                       _______________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE


Dated this 29th day of September, 2021.




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